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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

    FINESSE WIRELESS, LLC                  §
                                           §
                   Plaintiff,              §
    v.                                     §    CASE NO. 2:21-CV-00316-JRG
                                           §
    AT&T MOBILITY, LLC, AND                §
                                           §
                                           §
                   Defendant,              §
                                           §
    NOKIA OF AMERICA CORP.                 §
                                           §
                   Intervenor-Defendant.   §


                 DEFENDANTS’ RULE 59 MOTION FOR NEW TRIAL
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          Defendants respectfully move pursuant to Federal Rule of Civil Procedure 59 for a new trial,

   to the extent the Court does not grant Defendants’ motions for judgment as a matter of law (Dkts.

   294, 295, 296). A new trial should be granted because the verdicts are against the great weight of

   the evidence and for the additional reasons set forth below.

   I.     LEGAL STANDARD

          Under Federal Rule of Civil Procedure 59, a new trial is appropriate when the jury’s verdict

   is against the great weight of the evidence, the damages award is excessive, the trial was unfair, or

   prejudicial error was committed in the course of trial. Smith v. Transworld Drilling Co., 773 F.2d

   610, 613 (5th Cir. 1985). The Court may “grant a new trial on all or some of the issues.” See Fed.

   R. Civ. P. 59(a). But “a partial new trial” may not be ordered “unless it clearly appears that the issue

   to be retried is so distinct and separable from the others that a trial of it alone may be had without

   injustice.” Gasoline Prods. Co. v. Champlin Refining Co., 283 U.S. 494, 500 (1931). The Fifth

   Circuit has cautioned that “[i]f the decision on the other issues could in any way have been infected

   by the error then a new trial must be had on all issues.” Williams v. Slade, 431 F.2d 605, 608 (5th

   Cir. 1970). “[W]here the damages are excessive and the verdict is the product of passion or prejudice

   a new trial as to all the issues must be ordered.” Id. at 609; see also Dossett v. First State Bank, 399

   F.3d 940, 947 (8th Cir. 2005) (“[I]f passion or prejudice influenced the jury’s damages decision,

   then that same passion or prejudice may well have affected its decision on the issue of liability as

   well.”). Similarly, in Verizon Services Corp. v. Vonage Holdings Corp., 503 F.3d 1295 (Fed. Cir.

   2007), the Federal Circuit held that correction of a claim construction required a new trial on

   infringement. Id. at 1309. Because the jury’s damages verdict encompassed all asserted patents, the

   “normal rule” required vacating the damages verdict and remanding for a new trial on damages. Id.

   at 1310. As Judge Schroeder explained, the bar for departing from Verizon is “exceedingly high”

   and “the liability error must not have affected the damages verdict.” VirnetX Inc. v. Apple Inc., No.


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   6:12-cv-885-RWS, 2020 WL 3635929, at *5 (E.D. Tex. Apr. 23, 2020). Here, that exceedingly high

   standard is not met. Rather, judgment as a matter of law of no liability, or a lack of evidence

   warranting a new trial, as to either of the patents or as to damages necessarily renders the full jury

   verdict unsustainable. See Section II.F, infra.

   II.    ARGUMENT

          A.      The Court Should Grant a New Trial on Damages

          If the Court does not grant Defendants’ motions for judgment as a matter law of no liability

   due to non-infringement or invalidity (and thus grant judgment of no damages), a new trial is

   warranted because the damages award is excessive and against the great weight of the evidence for

   each of the reasons stated in Dkt. 296 and at least the following additional reasons.

                  1.      Dr. Bazelon Should Not Have Been Permitted to Offer A Speculative
                          Damages Theory At Trial Based on Future Infringement

          Dr. Bazelon’s calculation of damages through the lifetime of the patents was entirely

   speculative and based on an inappropriate royalty base. As explained in Defendants’ Motion for

   Judgment as a Matter of Law on Damages (Dkt. 296), Dr. Bazelon’s putative lump-sum damages

   opinion was based on running royalty methodology and evidence for use of the accused PIM-C

   feature. 1/10/2023 Trial Tr. (Bazelon) at 220:7-12. His opinion included a range of $58 to $63

   million through trial or $96 to $166 million through the life of the patents. Id. (Bazelon) at 211:8-

   24. Allowing Finesse to present the excessive and speculative figures, based on speculative future

   infringement, was highly prejudicial to Defendants and warrants a new trial. See, e.g., Wordtech

   Sys., Inc. v. Integrated Network Sol’ns, Inc., 609 F.3d 1308, 1319-22 (prohibiting jury verdict to

   stand when “clearly not supported by the evidence” or “based only on speculation or

   guesswork”); see also Brooke Group Ltd. v. Brown & Williamson Tobacco Corp., 509 U.S. 209, 242

   (1993) (“When an expert opinion is not supported by sufficient facts to validate it in the eyes of the



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   law, or when indisputable record facts contradict or otherwise render the opinion unreasonable, it

   cannot support a jury’s verdict.”).

                  2.      Dr. Bazelon’s Testimony Should Have Been Excluded

          Dr. Bazelon’s opinions should have been excluded because he offered technical opinions he

   was not qualified to offer, see Dkt. 132 at 3-4, and because he relied on assumptions unsupported by

   the record to inflate his damages figures, id. at 4-15.

                  3.      The Court’s Evidentiary Rulings Improperly Excluded Highly Probative
                          Evidence Warranting a New Trial on Damages

          The Court also made several evidentiary rulings that affected the scope of the damages case.

   First, the Court improperly excluded AT&T test data from the Southern Ohio and the New York

   City markets demonstrating that internal PIM was present at a limited number of sites and that the

   PIMC feature had a modest effect on PIM.         See Dkt. 155 at 4-5; Dkt. 215. Second, the Court

   improperly excluded evidence demonstrating that Finesse licensed Verizon’s use of the accused

   products in its network for no consideration. See 1/10/2023 Trial Tr. at 301:23-302:21; 1/11/2023

   Trial Tr. at 4:17-7:4. Finesse’s covenant not to sue Verizon with respect to the accused products is

   a license involving the same products and the same patents and is highly probative of an appropriate

   damages award in this case. Third, the Court improperly excluded evidence showing that Ericsson

   entered into a covenant not to sue with respect to certain PIM-C products (including the P614) for

   no consideration. See Dkt. 152. Keeping this evidence from the jury severely prejudiced Defendants

   and allowed the jury to reach a damages verdict much higher than would have been awarded if this

   evidence had been admitted. See, e.g., Hinojosa v. Butler, 547 F.3d 285, 292 (5th Cir. 2008)

   (remanding for a new trial where excluded evidence prejudiced party).




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          Additionally, as explained in Defendants’ Motion for Judgment as a Matter of Law on

   Damages, the Court’s decision to allow Finesse and its counsel to repeatedly reference billions of

   dollars in spectrum purchases, was both against the clear guidance from the Federal Circuit and

   highly prejudicial to Defendants. See Uniloc USA, Inc. v. Microsoft Corp., 632 F.3d 1292, 1320

   (Fed. Cir. 2011).

                  4.      The Damages Award Is Against the Great Weight of the Evidence and
                          Excessive

          Finally, for the reasons laid out above and in the Defendants’ Motion for Judgment as a

   Matter of Law (Dkt. 296), the great weight of the evidence is against the $166 million verdict, which

   is excessive, and justifies a new trial as well. See Whitserv v. Computer Packages, Inc., 694 F.3d

   10, 26 (Fed. Cir. 2012) (reversing denial of motion for a new trial on damages because the patentee’s

   expert made several errors in his royalty analysis).

          B.      A New Trial on Non-Infringement Is Warranted

          As explained in Defendants’ motion for judgment as a matter of law on infringement, the

   jury verdict as to infringement of the asserted ’134 and ’775 patent claims is unsupported by

   substantial evidence, and Defendants are entitled to a judgment of non-infringement on all asserted

   claims. Dkt. 294. At the very least, for similar reasons, the verdict is against the great weight of the

   evidence and a new trial on infringement is warranted as to all asserted claims. See Georgia-Pacific

   Corp. v. U.S. Gypsum Co., 195 F.3d 1322, 1333, (Fed. Cir. 1999), opinion amended on reh’g, 204

   F.3d 1359 (Fed. Cir. 2000) (affirming grant of new trial on infringement where the “jury[’]s verdict

   was not adequately supported by the evidence but the insufficiency of proof was not enough to grant

   [defendant’s] motion for JMOL”).

          Additionally, if the Court agrees with Defendants that any claim constructions should be

   corrected, (Dkt. 294), then at a minimum a new trial is required on infringement of the relevant



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   claims. See Verizon Services Corp. v. Vonage Holdings Corp., 503 F.3d 1295, 1309 (Fed. Cir. 2007)

   (correction of a faulty claim construction required a new trial on infringement).

          C.      A New Trial on Invalidity is Warranted

          As explained in Defendants’ motion for judgment as a matter of law on invalidity, the jury

   verdict that the asserted patent claims are not invalid is unsupported by substantial evidence. (Dkt.

   295). At a minimum, and for similar reasons, the verdict is against the great weight of the evidence

   and a new trial on validity is warranted as to all asserted claims.      See, e.g., CytoLogix Corp. v.

   Ventana Med. Sys., Inc., 424 F.3d 1168, 1176 (Fed. Cir. 2005) (holding that where the district court

   erred in its claim construction and the defendant had introduced substantial evidence for the issue of

   obviousness under the correct claim construction and provided detailed testimony from its expert

   regarding the prior art and motivation to combine, the infringer had met is burden to have provided

   substantial evidence of invalidity under the correct claim construction to preserve the invalidity

   defense, and therefore remanding to district court to determine whether a new trial on the issue of

   obviousness should be granted).

          Moreover, if the Court grants a new trial on infringement, it should also order a new trial on

   invalidity. Defendants’ expert explained that Defendants do not infringe the asserted patents but

   that, to the extent the claims were stretched to read on Nokia’s products, that they were invalid. See,

   e.g., 1/11/2023 Trial Tr. 273:9-12 (“So this patent would disclose – would be invalid, the ’775, this

   limitation would be demonstrated by Lui if it’s found that Nokia’s products infringe. So it’s one and

   the same.”); id. at 266:3-6 (“So if two inputs allows Nokia to infringe, then the patent, the ’775, is

   invalid because of the two signals that this one teaches. So this is doing what Finesse is claiming

   Nokia is doing.”); id. at 238:23-25 (“[M]y opinion is that there are a couple of pieces of prior art that

   make [the asserted claims of the ’134 patent] obvious to have done.”). A single jury should thus

   decide these overlapping issues. See Witco Chem. Corp. v. Peachtree Doors, Inc., 787 F.2d 1545,


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1549 (Fed. Cir. 1986) (“[I]t is inappropriate ... to have one jury return a verdict on the validity, [and]

enforceability ... questions while leaving the infringement questions to a second jury .... [T]he

arguments against infringement are indistinguishably woven with the factual underpinnings of the

validity and enforceability determinations.”).

         D.     Errors in the Jury Instruction Warrant a New Trial

         A new trial is warranted because the Court provided certain jury instructions and verdict

form questions, over Defendants’ objections, that were legally erroneous and prejudicial. See, e.g.,

Wordtech Sys., Inc. v. Integrated Networks Sols., Inc., 609 F.3d 1308, 1317 (Fed. Cir. 2010). The

Defendants objected to the jury instruction with respect to “lump sum” damages. The instruction

was erroneous because it suggested to the jury that the lump sum could be determined based on the

evidence at the time of the verdict rather than based on what the parties would have agreed to at the

time of the hypothetical negotiation. See 1/12/2023 Trial Tr. at 191:16-193:16; 196:18-197:4. This

is contrary to law. See, e.g., Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1335 (Fed. Cir.

2009).

         E.     If the Court Orders a New Trial on Any Issue, It Should be Granted on All
                Issues

         Further, if the Court grants a new trial on any issue, it should grant a new trial on all others.

For example, if it grants a new trial on damages, it should also order a new trial on liability—and

vice-versa—so that a single jury can decide overlapping factual issues. As explained above, the

Court’s evidentiary rulings with respect to damages likely infected the jury’s deliberations on all

issues and caused it to make an infringement determination on an improper basis. A new trial on

liability in addition to damages is therefore appropriate. See Davidson Oil Country Supply Co. v.

Klockner, Inc., 917 F.2d 185, 187 (5th Cir. 1990) (“[T]he exclusion of all of this evidence created




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an atmosphere so unreal and so prejudicial that it requires, in our very essential broad discretion,

that all issues ... be remanded for a full retrial.”).

        A partial new trial is not appropriate “where a tangled or complex fact situation would make

it unfair to one party to determine damages apart from liability.” Pryer v. C.O. 3 Slavic, 251 F.3d

448, 455 (3d Cir. 2001). This question depends not only on the “interdependence of the issues,” but

also “‘an overlapping of proof’ relevant to those issues.” Encompass Off. Sols., Inc. v. La. Health

Serv. & Indem. Co., 919 F.3d 266, 276–77 (5th Cir. 2019), cert. denied, 140 S. Ct. 221 (2019). Here,

issues and facts related to damages are intertwined with and dependent upon issues and facts related

to liability in several respects. For example, any damages calculation will be dependent upon which

claims of which asserted patents Defendants were found to infringe. A new jury therefore will have

to first separately assess the infringement and validity of each of the two asserted patents before

making a damages determination. Additionally, any reasonable royalty assessment will necessarily

depend on what the jury determines about the scope of the alleged inventions, how important the

alleged inventions are over the prior art, the extent to which Defendants has made use of the alleged

inventions, and the purported value of that use to Defendants’ products—all issues that overlap with

questions of liability. Where, as here, the issues tried are “so interwoven . . . that [one] cannot be

submitted to the jury independently of the [others] without confusion and uncertainty,” the grant of

a new trial on any liability issue should result in a new trial on damages; to do otherwise “would

amount to a denial of a fair trial.” See Gasoline Prods., 283 U.S. at 500-01; Yarbrough v. Sturm,

Ruger & Co., 964 F.2d 376, 380 (5th Cir. 1992) (affirming grant of new trial on all issues where

“liability finding . . . apparently was deliberately made to reach a certain amount of damages”).

III.    CONCLUSION

        For the foregoing reasons, Defendants respectfully request that, if their renewed motion for

judgment as a matter of law is not granted, the Court order a new trial.


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DATED: March 8, 2023                Respectfully submitted,
                                      By: /s/ Douglas M. Kubehl
                                      Douglas M. Kubehl
                                      State Bar Number 00796909
                                      Email: doug.kubehl@bakerbotts.com
                                      Jeffery Scott Becker
                                      State Bar Number 24069354
                                      Email: jeff.becker@bakerbotts.com
                                      Susan Cannon Kennedy
                                      State Bar Number 24051663
                                      Email: susan.kennedy@bakerbotts.com
                                      Baker Botts L.L.P.
                                      2001 Ross Avenue, Suite 900
                                      Dallas, TX 75201
                                      Telephone: (214) 953-6500
                                      Facsimile: (214) 661-6503

                                       Brandon Chen
                                       State Bar Number 24095814
                                       Email: brandon.chen@bakerbotts.com
                                       Baker Botts L.L.P.
                                       910 Louisiana Street, Suite 3200
                                       Houston, TX 77002
                                       Telephone: (713) 229-1611
                                       Facsimile: (713) 229-2811

                                       Deron R. Dacus
                                       Texas Bar No. 00790553 Email:
                                       ddacus@dacusfirm.com
                                       THE DACUS LAW FIRM, P.C.
                                       821 ESE Loop 323, Suite 430
                                       Tyler, TX 75701
                                       Phone: (903) 705-1171
                                       Fax: (903) 581-2543

                                       ATTORNEYS FOR DEFENDANT
                                       AT&T MOBILITY LLC


                                      By: /s/ David A. Nelson
                                      Scott Cole (State Bar No. 00790481)
                                      QUINN EMANUEL URQUHART &
                                      SULLIVAN, LLP
                                      201 West 5th Street 11th Floor
                                      Austin, Texas 78701
                                      (713) 221-7006


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                                  19548



                                      (737) 667-6110 (facsimile)
                                      scottcole@quinnemanuel.com

                                      David A. Nelson
                                      Brianne M. Straka (IL State Bar No. 6300972)
                                      Marc Kaplan (IL State Bar No. 6303652)
                                      Rajat Khanna (IL State Bar No. 6317120)
                                      Harrison B. Rose (IL State Bar No. 6327523)
                                      QUINN EMANUEL URQUHART &
                                      SULLIVAN, LLP
                                      191 N. Wacker Dr., Suite 2700
                                      Chicago, IL 60606
                                      (312) 705-7400
                                      (312) 705-7401 (Facsimile)
                                      davenelson@quinnemanuel.com
                                      briannestraka@quinnemanuel.com
                                      marckaplan@quinnemanuel.com
                                      rajatkhanna@quinnemanuel.com
                                      harrisonrose@quinnemanuel.com

                                      Deron R. Dacus
                                      Texas Bar No. 00790553 Email:
                                      ddacus@dacusfirm.com
                                      THE DACUS LAW FIRM, P.C.
                                      821 ESE Loop 323, Suite 430
                                      Tyler, TX 75701
                                      Phone: (903) 705-1171
                                      Fax: (903) 581-2543

                                      ATTORNEYS FOR INTERVENOR NOKIA
                                      OF AMERICA CORPORATION




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                                CERTIFICATE OF SERVICE

       I hereby certify that counsel of record are being served this 8th day of March 2023 via

ECF.

                                          By: /s/ David A. Nelson
                                              David A. Nelson




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